                                                                                   Motion GRANTED.


                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

  UNITED STATES OF AMERICA


  V                                               CASE NO. 3:10 CR-00163 (20)
                                                  JUDGE TRAUGER
  KARLOS TAYLOR
  __________________________/


            MOTION TO JOIN AND ADOPT CO-DEFENDANT’S MOTION
              TO SUPPRESS TITLE III WIRETAP EVIDENCE


            Comes Now the Defendant Karlos Taylor by and through his undersigned counsel

  and respectfully files with this Honorable Court his Motion to Join and Adopt the Motion

  to Suppress (DE 685) previously filed by counsel for co-defendant Anthony Brooks.

  In support of this Motion, the Defendant would state the following:

            1. The issues raised in co-defendant Brooks’ motion apply equally to Defendant

  Taylor.

            2. In an abundance of caution to protect his clients rights the undersigned wishes

  to join this motion because the facts and law as provided in co- defendant Brooks’ motion

  and memorandum of law appear to be equally applicable to Defendant Taylor. The

  Government alleges by Indictment they have evidence of an intercepted telephone call

  where Mr. Taylor is seeking to borrow money from co-defendant Lonnie Newsome to

  purchase a firearm.

            3. If Defendant Taylor filed a separate motion in this case, the information

  contained in that motion would be quite similar.




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